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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


 MEMPHIS LIGHT, GAS AND WATER                    )
 DIVISION,                                       )
                                                 )
        Plaintiff,                               )
                                                 )
 v.                                              )    Case No. 2:24-cv-02383-SHL-tmp
                                                 )
 ASPLUNDH TREE EXPERT, LLC,                      )
                                                 )
        Defendant.                               )


                                  NOTICE OF SETTLEMENT


       Pursuant to Local Rules 16.3(d) and 83.13(a), Plaintiff, Memphis Light, Gas and Water

Division, and Defendant, Asplundh Tree Expert, LLC, by and through undersigned counsel,

hereby jointly notify the Court that the parties participated in mediation and have reached an

agreement to resolve all issues in dispute between the parties. The parties will file a stipulation of

dismissal upon finalizing the settlement and in accordance with the agreement by the parties as to

the timing of such filing.

                                             Respectfully submitted,

                                             BLACK McLAREN JONES RYLAND & GRIFFEE, P.C.

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